     CASE 0:11-cr-00386-MJD Doc. 124 Filed 07/25/21 Page 1 of 11    1


 1                      UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
 2
     -----------------------------------------------------------
 3                                     )
      United States of America,        ) File No. 11-CR-386
 4                                     )           (MJD)
              Plaintiff,               )
 5                                     )
      vs.                              ) Minneapolis, Minnesota
 6                                     ) September 4, 2012
      Okwuchukwu Emmanuel Jidoefor,    ) 2:15 p.m.
 7                                     )
              Defendant.               )
 8                                     )
     -----------------------------------------------------------
 9
                  BEFORE THE HONORABLE MICHAEL J. DAVIS
10                  UNITED STATES DISTRICT COURT JUDGE

11                           (SENTENCING HEARING)

12
     APPEARANCES
13    For the Plaintiff:             U.S. Attorney's Office
                                     ANN M. ANAYA, AUSA
14                                   600 U.S. Courthouse
                                     300 South Fourth Street
15                                   Minneapolis, Minnesota 55415

16     For the Defendant:            CAROLINE DURHAM, ESQ.
                                     Suite 7243
17                                   1072 West Peachtree Street
                                     Atlanta, Georgia 30357
18
       Court Reporter:               LORI A. SIMPSON, RMR-CRR
19                                   Suite 146
                                     316 North Robert Street
20                                   St. Paul, Minnesota 55101

21

22

23

24
         Proceedings reported by court reporter; transcript
25   produced by computer.



                         LORI A. SIMPSON, RMR-CRR
                              (651) 848-1225
     CASE 0:11-cr-00386-MJD Doc. 124 Filed 07/25/21 Page 2 of 11           2


 1                          P R O C E E D I N G S

 2                              IN OPEN COURT

 3        (Defendant present)

 4               THE COURT:    Let's call this matter, please.

 5               COURTROOM DEPUTY:     The United States of

 6   America vs. Okwuchukwu Emmanuel Jidoefor, Criminal Case

 7   Number 11-CR-386.

 8               Counsel, please state your appearances for the

 9   record.

10               MS. ANAYA:    Good afternoon, Your Honor.         Ann Anaya

11   on behalf of the United States.

12               THE COURT:    Good afternoon.

13               MS. DURHAM:    Good afternoon, Your Honor.        Caroline

14   Durham on behalf of Mr. Jidoefor, who is at counsel table.

15               THE COURT:    Please step forward.      Counsel, have

16   you had an opportunity to review the Presentence

17   Investigation Report that has been prepared for the Court?

18               MS. ANAYA:    The government has, Your Honor.        We

19   have no objections.

20               MS. DURHAM:    Your Honor, the defense has and I

21   noted the objections in our position paper to the

22   calculations.     And I would simply stand on the pleadings

23   that I have provided, Judge.

24               THE COURT:    The Court has reviewed the Presentence

25   Investigation Report and will adopt the Presentence



                        LORI A. SIMPSON, RMR-CRR
                             (651) 848-1225
     CASE 0:11-cr-00386-MJD Doc. 124 Filed 07/25/21 Page 3 of 11          3


 1   Investigation Report as its own.

 2               The total offense level is 24, Criminal History

 3   Category of I, imprisonment range of 51 to -- I'm sorry.

 4   The Court will adopt the plea agreement that the government

 5   and the defendant agreed to as the potential guideline range

 6   of 12 to 18 months with an offense level of 13 and a

 7   Criminal History Category of I.

 8               The Court has received from the government a

 9   motion and a memorandum, a letter of memorandum, requesting

10   that the Court grant a motion for downward departure

11   pursuant to United States Sentencing Guidelines provision

12   5K1.1 in this matter.

13               In that letter the government, in great detail,

14   outlines the substantial assistance.         I think defense

15   correctly describes it as extraordinary substantial

16   assistance, and I would agree with that.         And so the Court

17   will grant the government's motion for downward departure.

18               Anything for the defense?

19               MS. DURHAM:    Yes, Your Honor.     If I may approach,

20   I have provided counsel and the Probation Office, it's

21   Defendant's Exhibit 1.      I just wanted the Court to see the

22   storefront that Mr. Jidoefor has opened that I describe in

23   the position paper.

24               The first time I drove past the store, I was

25   struck by the fact that it makes a visual impact there in



                        LORI A. SIMPSON, RMR-CRR
                             (651) 848-1225
     CASE 0:11-cr-00386-MJD Doc. 124 Filed 07/25/21 Page 4 of 11            4


 1   that neighborhood, a neighborhood that has struggled for

 2   quite some time and particularly in the last year.            So too

 3   has Mr. Jidoefor and his business struggled, but he hasn't

 4   given up, just as he hasn't given up with the work that he

 5   has done with the government.

 6               The intertwining of the value of the assistance

 7   and the 3553(a) factors, it's clear that there is so much

 8   more gained in this case as he stands before you than we

 9   might see from substantial assistance.         In many respects his

10   assistance was selfless because he knows he's got to make

11   right the wrongs that he's done.        The support that he has

12   from the task force is visible even this afternoon, Judge.

13               And I would ask the Court to find that the

14   combination of the factors presented as to who Mr. Jidoefor

15   is presented in the position paper and the PSR as applied to

16   3553(a) and then coated with the assistance he's given is

17   sufficient to find that a noncustodial sentence is

18   appropriate.

19               Thank you.

20               THE COURT:    Sir, step forward.     This is your

21   opportunity to speak to me.       You have an absolute right to

22   talk to me.    You have an absolute right to tell me anything

23   that you want to tell me about yourself, about this offense,

24   or anything else that you think I should know before I

25   sentence you.     Please speak to me.



                        LORI A. SIMPSON, RMR-CRR
                             (651) 848-1225
     CASE 0:11-cr-00386-MJD Doc. 124 Filed 07/25/21 Page 5 of 11          5


 1               THE DEFENDANT:     Your Honor, I was wrong, but I've

 2   been doing right a long time, for almost two years since I

 3   met the government, and I've been very truthful to know who

 4   I am, but I find out who I am right now.         I am thankful for

 5   you to forgive me for the wrong that I did, but I am always

 6   going to stand up doing right.

 7               THE COURT:    All right.    Thank you.

 8               Anything for the Government?

 9               MS. ANAYA:    Your Honor, we would concur with the

10   Court's characterization of the cooperation as extraordinary

11   in this case.     We do not object to the sentence requested by

12   defense.    And I have to say that over the course of months

13   getting to know Mr. Jidoefor, that what he just told you,

14   that he is trying to do right and do good, is exactly what

15   I've seen in every interaction with him.

16               I can't tell the Court how difficult from my

17   perspective it must have been for him to take the stand in

18   this case, both an act of courage and also a testament to

19   his commitment to do right, courage because of his

20   predicament he was in and knowing the danger that he faced

21   in providing information about this conspiracy, but also

22   difficult because he knew he had to speak in public and he

23   had to speak in front of the defendants, and that's

24   difficult for him.      And he did it without hesitating.     He

25   did it as a display of great commitment to doing right, and



                        LORI A. SIMPSON, RMR-CRR
                             (651) 848-1225
     CASE 0:11-cr-00386-MJD Doc. 124 Filed 07/25/21 Page 6 of 11         6


 1   I think it shows his strength.

 2               He has developed over the course of months into a

 3   person that is committed to, in addition to doing right,

 4   turning his life around and opening up businesses and trying

 5   to use the skills that he has as a people person to actually

 6   provide services in our neighborhoods here in Minneapolis.

 7               So, Your Honor, with that, I would ask the Court

 8   to consider the 3553 factors mentioned in the defense

 9   papers.

10               THE COURT:    All right.    One question I have for

11   the government.     How close is he to getting his visa?

12               MS. ANAYA:    Your Honor, the S visa process is one

13   that has never been, at least to my knowledge, attempted

14   before.    So it's a new process for me.       It is complicated by

15   the fact that he's adding his mother.         So I guess that's a

16   long way of telling the Court it's very difficult for me to

17   even guess.

18               THE COURT:    All right.

19               MS. ANAYA:    In the meantime, he will be here

20   legally based on the temporary visa.

21               THE COURT:    All right.    On February 10, 2012 the

22   defendant entered a plea of guilty as charged in a one-count

23   Information, charging him with bank fraud, in violation of

24   Title 18, United States Code, Sections 1344 and 2, a Class B

25   felony.    It is considered and adjudged that the defendant is



                        LORI A. SIMPSON, RMR-CRR
                             (651) 848-1225
     CASE 0:11-cr-00386-MJD Doc. 124 Filed 07/25/21 Page 7 of 11         7


 1   guilty of that offense.      The Court will sentence as follows:

 2               The Court has read the Presentence Investigation

 3   Report, the submissions of counsel.        The Court has read the

 4   submission of the government dealing with the 5K1.1 motion

 5   for departure and has granted that motion because this

 6   defendant has given extraordinary cooperation to the

 7   government and should be rewarded for his truthfulness and

 8   his willing to put his life on the line for the government.

 9   Therefore, the Court will sentence as follows:

10               The Court is also taking into effect the factors

11   under Title 18, 3553(a), and all the United States Supreme

12   Court decisions and Eighth Circuit Court of Appeals

13   sentencing decisions that are pertinent to this case and

14   will sentence as follows:

15               Before I -- I should finish up with the guideline

16   range.    Again, it's total offense level of 13, criminal

17   history of I, custody range of 12 to 18 months, supervised

18   release two to three years, fine range of 3,000 to 30,000

19   dollars, and a special assessment of $100.

20               The sentence is as follows:

21               The defendant is hereby sentenced to the care and

22   custody of the Bureau of Prisons for time served.

23               There is no fine.

24               And mandatory restitution is -- will be required,

25   but the amount owed to specified victims remains pending.



                        LORI A. SIMPSON, RMR-CRR
                             (651) 848-1225
     CASE 0:11-cr-00386-MJD Doc. 124 Filed 07/25/21 Page 8 of 11       8


 1   Payments of not less than $25 per month are to be made over

 2   a period of five years, commencing 30 days from release from

 3   confinement.     Payments are to be made payable to the Clerk,

 4   United States District Court, for disbursement to the

 5   victims.    The interest requirement is waived.

 6               The defendant is sentenced to a term of five years

 7   supervised release.      The following mandatory conditions are

 8   applicable:

 9               The defendant must report to the United States

10   Probation and Pretrial Services immediately after my

11   sentencing.

12               Next, the defendant shall not commit any crimes:

13   federal, state, or local.

14               Next, the defendant shall not illegally possess a

15   controlled substance.      The defendant shall refrain from any

16   unlawful use of a controlled substance.         The defendant shall

17   submit to one drug test within 15 days of release from

18   imprisonment and at least two periodic drug tests thereafter

19   as determined by the Court.

20               Next, the defendant shall not possess a firearm,

21   ammunition, destructive device, or any other dangerous

22   weapon.

23               Next, the defendant shall cooperate in the

24   collection of DNA as directed by the probation officer.

25               Next, the defendant shall pay restitution in



                        LORI A. SIMPSON, RMR-CRR
                             (651) 848-1225
     CASE 0:11-cr-00386-MJD Doc. 124 Filed 07/25/21 Page 9 of 11         9


 1   accordance with the Schedule of Payments sheet of the

 2   judgment.

 3               The defendant shall abide by the standard

 4   conditions of supervised release that have been adopted by

 5   this Court, including the following special conditions:

 6               One, the defendant shall participate in a program

 7   for substance abuse as approved by the probation officer.

 8   That program may include testing and inpatient or outpatient

 9   treatment, counseling, or support group.         Further, the

10   defendant shall contribute to the costs of such treatment as

11   determined by the Probation Office Co-Payment Program, not

12   to exceed the total cost of treatment.

13               Next, the defendant shall provide the probation

14   officer access to any requested financial information,

15   including credit reports, credit card bills, bank

16   statements, and telephone bills.

17               Next, the defendant shall be prohibited from

18   incurring new credit charges or opening additional lines of

19   credit without approval of the probation officer.

20               Next, if not employed at a regular lawful

21   occupation as deemed appropriate by the probation officer,

22   the defendant may be required to perform up to 20 hours of

23   community service per week until employed.          The defendant

24   may also participate in training, counseling, daily job

25   search, or other employment-related activities as directed



                        LORI A. SIMPSON, RMR-CRR
                             (651) 848-1225
     CASE 0:11-cr-00386-MJD Doc. 124 Filed 07/25/21 Page 10 of 11          10


 1    by the probation officer.

 2                Next, the defendant shall participate in

 3    educational programming as approved by the probation officer

 4    to obtain a high school diploma or general equivalency

 5    diploma or GED.

 6                Next, the defendant shall comply with all

 7    immigration rules and regulations and if deported from this

 8    country, either voluntarily or involuntarily, not re-enter

 9    the United States illegally.       Upon any re-entry to the

10    United States during the period of court-ordered

11    supervision, the defendant shall report to the nearest

12    United States Probation and Pretrial Services Office within

13    72 hours.

14                Finally, there's a $100 special assessment payable

15    to the Crime Victims Fund, which is due and payable

16    immediately.

17                Sir, if you feel the Court's sentence has not been

18    appropriate or did not follow the law or the Constitution,

19    you have a right to appeal your sentence to the Eighth

20    Circuit Court of Appeals, which sits in St. Louis.            You have

21    14 days from today's date to file that appeal.          Ms. Durham

22    will be your attorney on that appeal if you feel the Court

23    has not followed the law.

24                Anything further for the Government?

25                MS. ANAYA:   No, Your Honor.



                         LORI A. SIMPSON, RMR-CRR
                              (651) 848-1225
     CASE 0:11-cr-00386-MJD Doc. 124 Filed 07/25/21 Page 11 of 11   11


 1               THE COURT:    Anything further for the defense?

 2               MS. DURHAM:     No, Your Honor.

 3               THE COURT:    Good luck, sir.

 4               THE DEFENDANT:      Thank you.

 5               THE COURT:    We will recess until the next hearing.

 6        (Court adjourned at 2:30 p.m.)

 7                               *      *      *

 8

 9

10              I, Lori A. Simpson, certify that the foregoing is a

11    correct transcript from the record of proceedings in the

12    above-entitled matter.

13

14                    Certified by:     s/ Lori A. Simpson

15                                      Lori A. Simpson, RMR-CRR

16

17

18

19

20

21

22

23

24

25



                         LORI A. SIMPSON, RMR-CRR
                              (651) 848-1225
